                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,                                Case No. 3:12-cv-519

           v.

REX VENTURE GROUP, LLC d/b/a
ZEEKREWARDS.COM, and PAUL BURKS,

                     Defendants.



     REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION TO VACATE
     ORDER STAYING DISSOLUTION OF FEBRUARY 12, 2016 FREEZE ORDER

           Non-Party Banca Comerciala Victoriabank SA (“Victoriabank” or the “Bank”),

appearing specially, hereby submits its Reply Memorandum in Further Support of Motion to

Vacate Order Staying Dissolution of February 12, 2016 Freeze Order (“Motion”).

                                        INTRODUCTION

           The Receiver’s Response to Victoriabank’s Motion argues that Victoriabank’s request is

unprecedented. However, what is truly unprecedented is the Receiver’s continuing effort to flout

fundamental notions of due process. The Receiver began this saga by avoiding the courts of the

Republic of Moldova – a sovereign nation that has courts and has laws – apparently because of a

fear, based solely on prejudice and stereotyping, of the results (or lack thereof) he might obtain

in those courts. (May 3, 2017 Hearing Tr. at 37-38.) The Receiver then, on an ex parte basis

without notice to anyone, and without even service of any process upon anyone, convinced this

Court to issue the February 12, 2016 Freeze Order (“Freeze Order”), which resulted in a freeze

upon over $13 Million of funds in Victoriabank’s correspondent bank account at BNY Mellon.



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           Fifteen months later, after extensive discovery conducted by the Receiver, multiple

rounds of briefing, and two hearings, the Court found – correctly – that it had no jurisdiction

over Victoriabank, and dissolved the Freeze Order, holding the dissolution in abeyance until the

Receiver had the opportunity to appeal. Upon the Receiver’s appeal, the Court sua sponte stayed

the Freeze Order’s dissolution.1 It did so without consideration of any of the factors that should

inform an order suspending, modifying, restoring, or granting an injunction pending appeal.

This was error – instead, the Court should have allowed the Receiver to seek the stay under Fed.

R. Civ. P. 62(c), and then considered whether the Receiver had met Rule 62’s requirements.

           The Receiver seeks to compound this error by allowing the pre-judgment seizure of

assets belonging to a foreign non-party over whom the Court has no jurisdiction – seizure

without notice or the opportunity to be heard – to continue while this matter winds its way

through the appellate process. This is not how justice in the courts of the United States operates.

           The Court should correct its error by engaging (albeit belatedly) in the Rule 62 analysis

which the Receiver should have, but did not, invoke. Inasmuch as that analysis shows that the

Receiver is not entitled to continuation of the Freeze Order pending appeal, the Court should

vacate its Order Staying Dissolution of February 12, 2016 Freeze Order.




1
  The Receiver’s Response to Victoriabank’s Motion (“Receiver’s Resp.”) suggests that the
Court indicated an intent to enter a stay pending appeal during the May 3, 2017 hearing on
Victoriabank’s Motion to Dismiss (“May 3, 2017 Hearing”). The Court made no such indication
at the May 3, 2017 Hearing. Instead, the Court indicated it would hold “in abeyance for a period
of 30 days the effect of this opinion giving the receiver that amount of time in which to file an
appeal should [he] desire to do so. . . .” (May 3, 2017 Hearing Tr. at 45:15-24.) The Receiver
should have sought a stay in conjunction with filing his appeal.

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                                             ARGUMENT

           The Receiver’s principal argument appears to be that the Court, by acting sua sponte,

may not be questioned in the “suspension” of its Order dissolving an injunction. (Receiver’s

Resp. at 3-4.) But this is clearly incorrect. Victoriabank acknowledges that this Court has

discretion to enter a stay pending appeal under Fed. R. Civ. P. 62(c).2 However, in exercising its

discretion, the Court is bound by the parameters outlined in Hilton v. Braunskill. The Court must

consider:

           (1) whether the stay applicant has made a strong showing that he is likely to
           succeed on the merits; (2) whether the applicant will be irreparably injured absent
           a stay; (3) whether issuance of the stay will substantially injure the other parties
           interested in the proceeding; and (4) where the public interest lies.

481 U.S. 770, 776 (1987). This Court has not previously explicitly evaluated the Hilton factors

in connection with its ruling to stay the 2016 Freeze Order pending appeal and, in fact, an

analysis of the Hilton factors cannot support a stay pending appeal under the circumstances.

           The Receiver also suggests, based upon Richardson v. North Carolina, No. 5:07-HC-

2099-FL, 2008 WL 2397309 (E.D.N.C. June 12, 2008), that he need not even meet each of the

Hilton factors. In this the Receiver hearkens back to the old Blackwelder “balance-of-hardship”

test established by the Fourth Circuit in Blackwelder Furniture Co. v. Seilig Manufacturing Co.,

550 F.2d 189, 195 (4th Cir. 1977). The Blackwelder test was found by the Fourth Circuit to be

in conflict with the Supreme Court’s decision in Winter v. Natural Resources Defense Council,

Inc., 555 U.S. 7, 129 S. Ct. 365 (2008). See Real Truth About Obama, Inc. v. Fed. Election




2
 See Victoriabank’s Memorandum in Support of Motion to Vacate Order Staying Dissolution of
February 12, 2016 Freeze Order (“Victoriabank’s Br.”) at 3.

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Comm’n, 575 F.3d 342, 346 (4th Cir. 2009)3; see also Campbell Sales Group, Inc. v. Gramercy

Park Design, LLC, No. 1:10CV55, 2010 WL 3945350, at *3 (M.D.N.C. Oct. 6, 2010).

Accordingly, on this point the continued validity of the Richardson ruling by the Eastern District

is certainly questionable. See, e.g. Diedrich v. City of Newport News, 2016 U.S. Dist. LEXIS

66864, at *2 (E.D. Va. May 19, 2016) (denying motion for stay under Fed. R. Civ. P. 62 and

Hilton factors; “The burden of establishing support for each factor falls on the Plaintiff.”);

United States v. Wise, 2016 U.S. Dist. LEXIS 23020, at *5 (E.D.N.C. Feb. 25, 2016) (denying

application for stay under Fed. R. Civ. P. 62 and Hilton factors; noting stay applicants “bear the

burden of proving each of these factors.”).

           Regardless, inasmuch as each of the Hilton factors cuts against a stay, the Receiver still

loses.

I.         Neither the Receiver nor Rex Venture Group Victims Will Suffer Irreparable
           Injury in the Absence of a Stay.

           The sum total of the Receiver’s argument is as follows:

           In the absence of a stay, Victoriabank would be free to close, limit or move the
           account subject to the Freeze Order which in turn would create significant delays
           in if not make practically impossible the recovery of the more than $13 million
           now being frozen, even if the Receiver prevailed on appeal. The harm to the
           Receivership and its victims from having to substantially delay the closing of the
           Receivership and final distribution of funds (perhaps for years) while the Receiver
           chases Victoriabank to recover the money due cannot be known or effectively
           remedied. Therefore, the Receiver and victims will be irreparably harmed in the
           absence of a stay.

(Receiver’s Resp. at 6-7.) However, potential difficulty in judgment execution, collection, or

recovery absent a stay is not irreparable harm. See Barrette Outdoor Living, Inc. v. Mich. Resin


3
  Although Real Truth About Obama was vacated as moot in Real Truth About Obama, Inc. v.
Fed. Election Comm’n, 78 U.S.L.W. 3624, 3627 (U.S. April 26, 2010), many courts continue to
rely on its analysis regarding the invalidity of the Blackwelder standard after the Supreme
Court’s decision in Winter. See, e.g., Campbell Sales, 2010 WL 3945350, at *3.

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Representatives, LLC, 2014 U.S. Dist. LEXIS 53174 (E.D. Mich. Apr. 17, 2014) (“[T]he loss of

the ability to collect a money judgment is not usually regarded as irreparable harm.”). The

possibility of difficulty in judgment collection is not evidence of irreparable harm – it is a

possibility faced “by virtually every person who sues another for money damages.” Charlesbank

Equity Fund II, Ltd. P’ship v. Blinds To Go, Inc., 370 F.3d 151, 163 (1st Cir. 2004) (affirming

denial of preliminary injunction where potential difficulty in judgment collection did not

constitute irreparable harm).

           There are narrow exceptions where a stay pending appeal is appropriate to ensure the

availability of funds for judgment execution. For instance, irreparable harm may warrant a stay

pending appeal where the claim at issue “involves an obligation owed by an insolvent or a party

on the brink of insolvency.” Local 1303-362 of Council 4 v. KGI Bridgeport Co., 2014 U.S.

Dist. LEXIS 21644, at *6 (D. Conn. Feb. 10, 2014) (denying stay pending appeal where potential

difficulty in judgment collection did not constitute irreparable harm). Alternatively, there may

be irreparable harm warranting an injunction restraining assets where there is evidence a party is

transferring property or funds to dissipate or diminish assets available for judgment execution.

Al-Abood v. El-Shamari, 71 F. Supp. 2d 511, 516 (1999) (finding no irreparable harm resulting

from alleged potential difficulty in judgment collection; noting the Fourth Circuit only finds

irreparable harm where there is evidence of dissolution or depletion of assets). However, in

order to warrant a stay pending appeal, the possibility of insolvency or depletion of assets must

be “actual and imminent” rather than remote or speculative. Local 1303-362 of Council 4, 2014

U.S. Dist. LEXIS 21644, at *7. “A finding of irreparable harm must be grounded on something

more than conjecture, surmise, or a party’s unsubstantiated fears of what the future may have in

store.” Charlesbank Equity Fund II, Ltd. P’ship, 370 F.3d at 162.


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           Here, there is no evidence that Victoriabank is insolvent or on the brink of insolvency.

There is no evidence that Victoriabank is transferring or depleting assets in such a way that

would prevent the Receiver from executing on a judgment in the future. All the Receiver has

alleged is an unsubstantiated fear – rather than any evidence – that Victoriabank might “close,

limit or move” its correspondent bank account at Bank of New York Mellon (“BNY Mellon”) in

the absence of a stay pending appeal. Such speculation does not establish irreparable harm and

cannot support the continued pre-judgment restraint of Victoriabank’s assets.

II.        Victoriabank and the Public Interest Will Suffer a Concrete Injury if the 2016
           Freeze Order is Stayed Pending Appeal.

           “[W]here a plaintiff creditor has no lien or equitable interest in the assets of a defendant

debtor, the creditor may not interfere with the debtor’s use of his property before obtaining

judgment.” United States ex rel. Rahman v. Oncology Assocs., 198 F.3d 489, 496 (4th Cir. 1999)

(citing Grupo Mexicano De Desarrollo v. Alliance Bond Fund, 527 U.S. 308 (1999)). It is

undisputed that no Receivership Assets have been on deposit at Victoriabank or its BNY Mellon

correspondent bank account since November 2, 2015 – at least 3 months prior to the entry of the

2016 Freeze Order. (Supplemental Affidavit of Corneliu Popovici (“Supp. Popovici Aff.”) filed

June 10, 2016 [ECF 527-1], ¶ 9.) Therefore, the Receiver cannot possibly have a lien or

equitable interest with respect to any funds on deposit at Victoriabank or its BNY Mellon

correspondent bank account, and a stay of the 2016 Freeze Order pending appeal constitutes an

unlawful prejudgment restraint of Victoriabank’s assets.

           While the Receiver’s claimed irreparable injury absent a stay pending appeal is entirely

speculative, Victoriabank’s injury resulting from a continued pre-judgment restraint of its assets

is concrete. In Barrette Outdoor Living, Inc., the district court weighed the plaintiff’s alleged

irreparable harm absent an injunction against the potential injury suffered by the defendant as a

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result of such an injunction.        The court concluded the plaintiff’s alleged irreparable harm

(potential difficulty in judgment collection) was speculative while the potential injury to the

defendant (a pre-judgment restraint of assets contrary to Grupo Mexicano De Desarrollo v.

Alliance Bond Fund, 527 U.S. 308 (1999)) was concrete.

           As noted by Grupo Mexicano and its progeny, granting the requested injunctive
           relief would harm [the defendant] and the public interest, as the requirement that a
           creditor receive a judgment before being allowed to act upon a debtor’s property
           goes to the substantive rights of all property owners.

Barrette Outdoor Living, Inc., 2014 U.S. Dist. LEXIS 53174, at *11. The court denied the

plaintiff’s request for an injunction restraining the defendant’s funds prior to judgment,

concluding that an injunction restraining assets prior to judgment would harm the defendant and

the public interest.

           A continued pre-judgment restraint of Victoriabank’s assets injures both Victoriabank

and the substantial public interest in the substantive rights of all property owners.

           III.   The Receiver is Not Likely to Succeed on the Merits.

           “The Receiver believes that he has a strong likelihood of success on appeal.” (Receiver’s

Resp. at 5.) Unfortunately for the Receiver, his own belief does not constitute the “strong

showing” of a likelihood of success on appeal required to justify a stay pending appeal. The

Receiver spent over a year briefing, conducting jurisdictional discovery, and arguing before this

Court to prove that the Court has personal jurisdiction over Victoriabank. The Receiver lost.

Now, the Receiver urges that the application of Grayson v. Anderson, 816 F.3d 262 (4th Cir.

2016), to the facts of this case will lead to a different result before the Fourth Circuit. In

Grayson, the Fourth Circuit affirmed a district court’s order granting a dismissal for lack of

personal jurisdiction applying a preponderance of evidence standard following jurisdictional

discovery, clarifying that an evidentiary hearing is not necessary under such circumstances. In

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fact, Grayson supports the precise outcome the district court has already reached in this case,

and, therefore, the Receiver’s reliance on Grayson will not lead to a different result before the

Fourth Circuit.

           The lack of a strong showing that the Receiver is likely to succeed on appeal weighs

against the continued pre-judgment restraint of Victoriabank’s assets.

                                           CONCLUSION

           Because each of the Hilton factors weighs against the imposition of a stay pending appeal

continuing a pre-judgment restraint of non-party Victoriabank’s assets, Victoriabank respectfully

requests that this Court grant Victoriabank’s Motion to Dissolve Order Staying Dissolution of

February 12, 2016 Freeze Order. Alternatively, Victoriabank requests that this Court require the

Receiver to post a bond pursuant to Fed. R. Civ. P. 62(c) in the amount of $13,174,015.48.4

Victoriabank also requests that the Court recommend to the Fourth Circuit that the Receiver’s

appeal be expedited.




4
  The Receiver’s representation that Victoriabank’s Motion is the first time Victoriabank has
sought a bond is wrong. Victoriabank made a request for a bond at the June 21, 2016 hearing
(“June 21, 2016 Hearing”) on this matter, which the Court denied. (June 21, 2016 Hearing Tr. at
33:9-21.)

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           Respectfully submitted, this 26th day of June, 2017.


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                                   CERTIFICATE OF SERVICE

           I hereby certify that the foregoing REPLY MEMORANDUM IN FURTHER

SUPPORT OF MOTION TO DISSOLVE ORDER STAYING DISSOLUTION OF

FEBRUARY 12, 2016 FREEZE ORDER was electronically filed with the Clerk of Court using

the CM/ECF system, which automatically serves notification of such filing to all counsel of

record.

           This 26th day of June, 2017.



                                                       s/ Kiran H. Mehta
                                                     Kiran H. Mehta
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